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                   EXHIBIT E
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 1    I,                 , declare as follows:
 2
 3    1.    This declaration is based on my personal knowledge. If called to testify in this
 4    case, I would testify competently about these facts.
 5    2.    I am 17 years old. I am from Guatemala.
 6    3.    I arrived in the United States on or around March 24. I was alone.
 7
 8 CBP Custody
 9    4.    I was in immigration detention for 11 days. While I was there, I wasn’t able to
10    sleep because there were so many girls in a small tent. The girls who were there longer
11    said that because I was new, I had to sleep sitting on a bench, not lying down, so I could
12    only sleep sitting up the whole time. The silver blankets didn’t keep us warm. It was
13    also hard to get enough to eat because sometimes the food was spoiled. I was only able
14    to shower once, after 8 days. While I was there, I was never able to go outside. Some
15    other girls told me that they had gone out to a field, but I never went out.
16    5.    During those 11 days, I was only able to call my uncle in Maryland once for about
17    four minutes to let him know I was safe.
18    6.    After 11 days in a CBP facility, I was moved to this facility in El Paso.
19    7.    To get here, I traveled on a bus, then a plane, and then another a bus. They didn’t
20    tell us where we were going or why. I thought I was going to go and see my family, so I
21    was really confused when I got here. When I arrived, they told me that I was at a shelter
22    in El Paso, but nothing else.
23
24    Fort Bliss Emergency Intake Site
25    8.    I have been here in El Paso for 60 days, since April 4. Because I’ve been here so
26    long, I’ve been getting a lot of anxiety, and my blood pressure has gone up. I’ve never
27    had that problem before. My blood pressure makes me dizzy and gives me a headache.
28    One time about a month ago I fainted because of my anxiety.
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 1    9.       I sleep in a tent with about 300 other girls. There are fewer girls now, but before
 2    there were about 900. We sleep on bunks. I used to be sleeping on the top but now I’m
 3    on the bottom because of my anxiety. I was afraid I was going to fall off. The bunks are
 4    pretty low. I can’t sit up on my bunk without hitting my head.
 5    10.      The bright lights make it hard to sleep because I sleep near the bathroom. They
 6    only turn the lights out in the middle of the tent, but they leave lights on near the
 7    bathroom.
 8    11.      We move around the facility in a group with all of the girls in our tent in a single
 9    file line. They scan my bracelet whenever I enter or exit anywhere. I’m never allowed to
10    go anywhere in the facility by myself. I always have to be with a worker in a yellow
11    shirt.
12    12.      There is nowhere here that I can be alone or have any privacy. That’s really
13    difficult after two months.
14    13.      I go to English classes here about three times a week. They last about 20 to 30
15    minutes, and sometimes longer. They only teach basic things like letters, colors, and
16    days of the week. It’s the same class for everyone. There aren’t any classes other than
17    English.
18    14.      We go to recreation about two times a day, sometimes out to a field and sometimes
19    to a tent where there are Zumba classes. I don’t like to go because it takes longer to walk
20    there than the actual recreation time. We’re only there for about 20 minutes.
21    15.      We heard that in the boys’ tent there’s a TV and music, but the girls only have
22    music sometimes. We only have stuff to make bracelets. Sometimes they play movies
23    on the ceiling of the tent for us but we can’t really see it.
24    16.      I spend most of my time here laying down in my bunk, and sometimes crying. I
25    only get up to go to meals or go to the bathroom. I’ve been here a long time. On June
26    10th, it will be three months since I’ve left home.
27    17.      There are counselors here. Sometimes they are helpful, and sometimes they aren’t.
28    It’s a different person every time.
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 1    18.    Sometimes when I ask to go to the counselor, I wait about 15 or 20 minutes and
 2    then I can go. But sometimes they say they’ll call for me to go and see a counselor soon,
 3    and then they never do. That has happened to me many times. It seems like they don’t
 4    call until they see you’re really upset, even if you’ve asked to see a counselor.
 5    Sometimes, they send the counselors over to the tent to see us, but I don’t like that
 6    because it’s not private.
 7    19.    I don’t think that talking to the counselors really helps because they don’t know
 8    what I’m going through. I won’t be fine until I leave here.
 9    20.    Compared to immigration, the food here is a little bit better, but it’s the same thing
10    every day and I’m getting tired of it. There is enough food and water here, but
11    sometimes I don’t have enough time to eat because we only get 15 minutes. Before, we
12    were using a different cafeteria and only got 10 minutes to eat. Also, sometimes the
13    chicken is raw.
14    21.    I can shower here any time I want to. Sometimes we only get 10 minutes, when
15    there are a lot of girls waiting.
16    22.    I have enough clean clothes and bed linens. Sometimes it takes a while to get
17    laundry back, but there is a place where we can get clean clothes.
18    23.    When I was staying in a different tent, there were some girls who would bully me
19    for being from Guatemala. They were really hurtful and it made me feel bad, but I didn’t
20    want to report them because it would be worse for them and wouldn’t be any better for
21    me. I understand that they were under a lot of stress being here, but it still hurt me.
22    24.    I have not received a list of free legal service providers. I have not talked to an
23    attorney since I have been here. I have been to a presentation by KIND.
24    25.    I am tested for COVID here every three days. I can get a clean mask if mine is
25    dirty or broken. There are enough places to wash my hands. The staff are good at telling
26    people to keep their masks on. I’m still scared of getting COVID because I’m scared it
27    will make my case take longer.
28    26.    My uncle is applying to be my sponsor.
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 1    27.    My case worker said that my uncle submitted his fingerprints on May 26th, but it
 2    will take seven to ten days to get the fingerprints processed so I can leave. This is
 3    confusing because I’ve seen other girls get released two to four days after the fingerprints
 4    come in, and I don’t know why that isn’t happening for me. I don’t know of any other
 5    steps that need to happen before I can be released.
 6    28.    I’m scared because I’ve heard that the girls who are here two months are taken
 7    somewhere else and I’m scared I’ll have to start over. I’m scared that they lied to me
 8    about how long the fingerprints will take so that I would be here for two months so they
 9    could transfer me somewhere else.
10    29.    When I think about that, I get anxiety, and it’s hard to sleep. Three days ago, a
11    doctor gave me medication to help me sleep because I hadn’t slept for three days. The
12    first pill they gave me didn’t really work, but they gave me a new one last night that did
13    work. The medication makes me feel really tired and dizzy. I’d prefer not to take it
14    because I don’t want to get too used to it.
15    30.    The doctor also gave me medication for my headaches, and that helped. But I’m
16    only able to get medicine for my headaches when they take me to the doctor, not anytime
17    I need it.
18    31.    Since I’ve been here, I have only met with a case manager two times. My last
19    meeting was about six days ago and only lasted three or four minutes because, even
20    though the workers had said she wanted to see me, she wasn’t expecting me. The
21    previous time was about 20 days before. At the first meeting, the case manager told me
22    she’d do her best to get me out as quickly as possible, but I’m still here. I understand that
23    there are a lot of kids and not a lot of case workers, but I don’t understand why there are
24    kids who have been here less time than me and they have left and I’m still here.
25    32.    I can only meet with a case manager if they call for me. I can’t ask to see someone
26    on my own.
27    33.    I am only allowed to call my mom two times a week for 10 minutes each time.
28    That’s not enough for me. Every time I talk to my mom, I go to my bed and cry because
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 1    it’s such a short amount of time. Not having enough time to talk to my mom is the
 2    hardest thing for me.
 3    34.   I used to be able to cope with my anxiety and breathe through it, but now I feel like
 4    I’ve given up. I feel like I’ll never get out of here.
 5    35.   When I get out of here I want to study. I’d like to be a teacher.
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